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 6
 7   Attorney for Defendant
     EN HAO LIN
 8
 9
                IN THE UNITED STATES OF DISTRICT COURT FOR THE
10
                           EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,
13                                                CR.S. No. 2:06-cr-390 EJG
14                            Plaintiff,
                                                  STIPULATION AND ORDER TO
15                 v.                             MODIFY CONDITIONS OF
16                                                PRETRIAL RELEASE
     DICKSON WING KEI HUNG,
17   JIANG HONG LIANG,
18   EN HAO LIN,
     RUI LIU,
19
20                Defendants.

21
22
23         IT IS HEREBY STIPULATED by and between Assistant United States Attorney
24   Heiko Coppola, counsel for plaintiff, and David D. Fischer, counsel for En Hao Lin, that
25   with regard to defendant En Hao Lin only, that the requirement that Mr. Lin post a
26   secured bond in the amount of $160,000 secured by real property of Huan Y. Xu be
27   reduced to the amount of $125,000 secured by real property of Huan Y. Xu. The
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 1   amount of $125,000 represents the appraised value of the property and all of the
 2   available equity in the property.
 3
 4                                                       Respectfully submitted,
 5
 6   Dated: November 13, 2009                            /s/ David D. Fischer
                                                         DAVID D. FISCHER
 7
                                                         Attorney for Defendant
 8                                                       EN HAO LIN
 9
10   Dated: November 13, 2009                            /s/ Heiko P. Coppola
                                                         HEIKO COPPOLA
11                                                       Assistant United States Attorney
12                                                       Counsel for Plaintiff
13
14
            IT IS SO ORDERED
15
16
17   Dated: November 13, 2009.
18
                                             ______________________________________
19                                           DALE A. DROZD
20                                           UNITED STATES MAGISTRATE JUDGE

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